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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
                                    STATESBORO DIVISIO N

UNITED STATES OF AMERICA )
                                                     INDICTMENT NO . CR606-0 1
V.                                            )

WILLIE FREE, )
OMAR MIMS, and )
BLAIR RHODES    )


                       ORDER OF DISMISSAL WITHOUT PREJUDICE
                    OF DEFENDANTS OMAR MIMS AND BLAIR RHODE S

        Pursuant to Rule 48 (a) of the Federal Rules of Criminal Procedure , and by leave of Court

endorsed hereon , the United States Atto rney for the Southern District of Georgia hereby dismisses

WITHOUT PREJUDICE the defendants , Omar Mims and Blair Rhodes, from this Indictment, and

shows that based upon their cooperation in this case , further proceedings against them would not be

in the interests of justice .
                                                     Respectfully submitted,

                                                     EDMUND A . BOOTH, JR .
                                                     ACING UNITED STATES ATTORNE Y



100 Bull Street                                      Darrin L. McCullough
Sav annah, GA 31401                                  Assistant United States Attorne y
(912) 652-4422
                                      LEAVE OF COURT

Leave of Court is GRANTED for the filing of the foregoing dismissal without prejudice .

                 SO ORDERED, this             day of 2007 .




                                                Avant E(fenfeld
                                             Judge, United States District
                                             Southern District of Georgi a
      Case 6:06-cr-00001-BAE-GRS Document 85 Filed 04/02/07 Page 2 of 2



                                 CERTIFICATE OF SERVIC E

       The undersigned hereby certifies that a true and correct copy of the foregoing document has

been delivered to counse of record by :

                       U.S. Mail addressed to :


                                         Rowe Brogdon
                                       Rowe Brogdon, P C
                                          P.O. Box 189
                                      Statesboro , GA 30459
                                          912/764-6668
                                       Fax : 912 /764-9907


                                      Charles W. Coo k
                              Law Office of Charles W. Cook, PC
                                        P.O. Box 1540
                                   Vidalia, GA 30474-1540
                                        912-537-1087
                                      Fax : 912-537-151 8

                      Hand delivery; or

                      Facsimile, followed by U .S. Mail .


                              This 2 ~ day of          ~-r-                 2007 .


                                                      G UNITED STATES ATTORNEY

                                              arrin L. eCullough
                                             Assistant ited States Attorney
                                             Georgia Bar No . 48701 1

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